                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
GMP: BCR                                            271 Cadman Plaza East
F. #2009R01065                                      Brooklyn, New York 11201


                                                    January 11, 2019

By ECF

The Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Joaquin Archivaldo Guzman Loera
                      Criminal Docket No. 09-466 (S-4) (BMC)

Dear Judge Cogan:

              The government submits this response to the December 21, 2018 letter from the
New York Times (the “Times Letter”) and the January 2, 2019 letter from Vice Media LLC
(the “Vice Letter”). The Times Letter and the Vice Letter generally concern the sealing and
redaction of various docket entries in the above-captioned case. This response addresses the
general contours of the governing law as well as the specific docket entries specified in the
Times Letter.

              A. Legal Standards

               Public access to the proceedings and documents of courts is “integral to our
system of government,” United States v. Erie Cty. N.Y., 763 F.3d 235, 238-39 (2d Cir. 2014),
and the First Amendment provides “the press and general public [with] a constitutional right
of access to criminal trials.” Globe Newspaper Co. v. Superior Court for Norfolk Cty., 457
U.S. 596, 603 (1982). There is a “qualified right of access,” in turn, to “judicial documents.”
Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 120 (2d Cir. 2006) (internal quotation
marks and citation omitted). In this case alone, thousands of pages of judicial documents have
been made available to the public and the press; the Court took measures to ensure that jury
selection would be open to the press while balancing competing security and privacy concerns,
see Dkt. No. 402; and local, national, and international press and members of the public have
attended every day of the public trial so far.

              As the Second Circuit has explained, however, and as this Court recognized in
addressing earlier press letters on this subject, see Dkt. No. 404, the qualified right of access
to certain judicial documents does not provide blanket public and press access to all filings.
“[D]ocuments may be sealed if specific, on the record findings are made demonstrating that
closure is essential to preserve higher values and is narrowly tailored to serve that interest.”
Lugosch, 435 F.3d at 120 (citing In re New York Times Co., 828 F.2d 110, 116 (2d Cir. 1987)).
Thus, documents may be properly sealed where necessary to protect, inter alia, the defendant’s
Sixth Amendment right to a fair trial, the privacy interests of prospective jurors, the identities
of sources, witnesses, and law enforcement personnel, as well as information related to
ongoing law enforcement investigations. See United States v. Amodeo, 44 F.3d 141, 147 (2d
Cir. 1995) (Amodeo I) (explaining that the law enforcement privilege is worthy of protection
in order to “prevent disclosure of law enforcement techniques and procedures, to preserve the
confidentiality of sources, to protect witness and law enforcement personnel, to safeguard the
privacy of individuals involved in an investigation, and otherwise to prevent interference with
an investigation”).

               Where cooperating witnesses are used, moreover, this district has recognized
that it is not merely ongoing but future investigative efforts that justify keeping certain
information relating to cooperation under seal. See United States v. Armstrong, 185 F. Supp.
3d 332, 336-37 (E.D.N.Y. 2016) (“[T]he government retains a unique interest in keeping
documents relating to cooperation under seal even after a given investigation is completed. If
we limit the government interest in protecting documents to a narrow interest in the secrecy of
ongoing investigations, we fail to acknowledge how profoundly the federal criminal justice
system relies on cooperators.”). See also United States v. Amodeo, 71 F. 3d 1044, 1050 (2d
Cir. 1995) (Amodeo II) (recognizing that where the release of information is “likely to cause
persons in the particular or future cases to resist involvement where cooperation is desirable,
that effect should be weighed against the presumption of access”) (emphasis added).

               The Second Circuit has also held that the “privacy interests of innocent third
parties…should weigh heavily” in a Court’s balancing of the interests in determining whether
judicial documents should be sealed. New York Times, 828 F.2d at 116. See Amodeo II, 71
F.3d at 1049 (“[F]amily affairs, illnesses, embarrassing conduct with no public ramifications,
and similar matters will weigh more heavily against access than conduct affecting a substantial
portion of the public.”). In light of these and related precedents, courts have held that
redactions to the specific identities of persons named in court filings may be appropriate, and
that disclosure of specific identities “neither furthers the need for public monitoring of federal
courts, nor fosters an appearance of fairness in the criminal trial.” United States v. Silver, No.
15-CR-93 (VEC), 2016 WL 1572993, *7 (S.D.N.Y. Apr. 14, 2016) (internal quotation marks
omitted) (citing Lugosch, 435 F.3d at 123 and Globe Newspaper Co., 457 U.S. at 606).

               Applying these principles to determine whether sealing is appropriate requires
a court to determine, first, that the document in question is a “judicial document” to which a
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presumption of access would attach. See Newsday LLC v. Cty. of Nassau, 730 F.3d 156, 166,
167 n.15 (2d Cir. 2013). If it is a judicial document, the next step is to determine whether the
presumption of access is the common law right of access or the First Amendment’s qualified
“right to attend judicial proceedings and to access certain judicial documents.” Lugosch, 435
F.3d at 120. The common law right of access applies if the documents are judicial documents,
and the First Amendment right of access applies if either (1) the documents “have historically
been open to the press and general public” and that “public access plays a significant positive
role in the functioning of the particular process in question,” or (2) the documents are “derived
from or [are] a necessary corollary of the capacity to attend the relevant proceedings.” Id.

               If the documents at issue are subject to the First Amendment’s qualified right of
access, a court must determine by “specific, on-the-record findings [whether] higher values
necessitate a narrowly tailored sealing.” Lugosch, 435 F.3d at 326. If the common law
presumption of access applies, a court must “determine the weight of the presumption and
measure it against competing considerations.” Erie Cty., 763 F.3d at 241. The Second Circuit
has also held that partial redaction may be “a viable remedy” in weighing the appropriateness
of sealing, while acknowledging that some documents present an “all or nothing matter.”
Amodeo II, 71 F.3d at 1053.

              B. Discussion

               In this case, and consistent with the authorities cited above, the government has
generally sought to seal or redact information that would identify or otherwise risk the safety
of its cooperating witnesses, law enforcement witnesses, or cooperating sources, or that would
reveal sensitive law enforcement techniques, investigative procedures, or ongoing
investigations. 1 The government’s sealing and redaction practices to date have therefore been
appropriate and consistent with governing law.

                The sealed documents identified with specificity in the Times Letter generally
relate either to cooperating witnesses or law enforcement witnesses. (The Vice Letter does not
identify any documents with specificity.) With respect to cooperating witnesses, most of the
government’s requests to seal documents and information before trial (whether through full

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         The government assumes arguendo that the filings identified by docket number in the
Times Letter are “judicial documents” and that both the First Amendment qualified right of
access and the common law presumption of access apply to them. Should other filings not
specifically identified herein become the subject of later motion practice, however, the
government reserves the right to argue that those filings are not “judicial documents” within
the meaning of applicable precedent.

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sealing or redaction) were intended to limit the disclosure of identifying information that would
have revealed cooperating witnesses’ identities prior to their testimony. Pre-trial sealing was
therefore appropriate in order to ensure witness safety. See United States v. Armstrong, 185
F. Supp. 3d 332, 336 (E.D.N.Y. 2016) (Gershon, J.) (“The safety of a cooperating defendant
can constitute a compelling interest that may be weighed against a First Amendment
presumption of access.”). By the end of trial, however, with the cooperating witnesses having
testified – and therefore with their identities having been publicly revealed – many of the
redactions to identifying information in the government’s pretrial motions will be able to be
lifted.

               Nonetheless, in certain instances, the government submits that certain
information under seal in the government’s filings related to cooperating witnesses in this case
could, if revealed, nonetheless threaten the safety of cooperating witnesses or their families,
jeopardize ongoing investigations, or otherwise reveal information legally protected from
disclosure, even if the identities of the relevant cooperating witnesses have been revealed in
open court. This would be the case, for instance, for at least the following categories of
information:

              • sealed information that would reveal information not disclosed about trial
                concerning cooperating witnesses’ interactions with fugitives still at large,
                such that the information sealed is relevant to ongoing investigations related
                to fugitive defendants, see Armstrong, 185 F. Supp. 3d at 336
                (“Unquestionably, there is a government interest in the secrecy of ongoing
                investigations.”);

              • sealed information that would reveal operational information or details
                related to government witness security programs, or would identify trial
                witnesses as participants in witness security programs, see id., see also
                Amodeo I, 44 F.3d at 147 (recognizing that law enforcement privilege to
                “prevent disclosure of law enforcement techniques and procedures, to
                preserve the confidentiality of sources, [and] to protect witness and law
                enforcement personnel” is an interest worthy of protection when weighing
                the right of access to judicial documents);

              • sealed information that would reveal witnesses’ attempts to ensure their
                personal safety by undertaking efforts to conceal from others that they were
                testifying at this trial, see id.;

              • sealed information that would reveal sensitive personal medical, health-
                related, or other sensitive collateral matters in a manner that connects the
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                  conditions to the witness, see United States v. Martoma, No. 12-CR-973
                  (PGG), 2014 WL 164181, *6 (S.D.N.Y. Jan. 9, 2014) (holding that courts
                  “grant the greatest protection” to information involving “medical, health-
                  related, family, or personal financial matter[s]”) (citing Amodeo II);

               • sealed information already subject to the Court’s rulings finding a sufficient
                 rationale for sealing.

               Thus, the government submits that the appropriate balance to be struck with
respect to sealed or redacted pretrial motions relating to cooperating witnesses is that at the
conclusion of trial, unsealed versions of most pretrial motions describing cooperating
witnesses can be publicly docketed, but that information that poses a threat to cooperating
witnesses’ families or associates, or that reveals ongoing investigations, be redacted. This
proposal would result in the vast majority of the contents of the government’s pretrial filings
relating to cooperating witnesses being unsealed. With respect to the specific filings identified
in the Times Letter, the government anticipates that this proposal would result in the public
filing of redacted or fully unsealed versions of docket entries 350, 375, 396, 413, 421, 460,
494, 504, and 506. 2 Docket entry 451 would remain publicly available in its currently-redacted
form, which reflects the Court’s previous findings as to the need for partial sealing. See Dkt.
No. 465. Although not listed in the Times Letter because they were filed after the Times Letter,
docket entries 522 and 524 would remain sealed, with their redacted versions available at
docket entries 523 and 525, respectively, pursuant to the Court’s rulings on those sealing
requests.

               With respect to law enforcement witnesses, the motion identified in the Times
Letter that relates to the government’s request to preclude cross-examination of certain lines
of inquiry of government officers and agents is docket entry 354. As an initial matter, the
government notes that the Court granted the government’s motion, precluding the introduction
of evidence relating to the issues of judgment and discipline identified in the government’s
motion, except as to one officer. See Dkt. No. 403 at 7-8. Like a number of the officers and
agents identified in the government’s motion, that officer will not be called to testify at trial.

              The Second Circuit has recognized the “government’s legitimate right to protect
the confidentiality of its agents’ records.” United States v. Preldakaj, 456 Fed. App’x 56, 59
(2d Cir. 2012). And, as the Southern District of New York has recognized, citing Supreme
Court and Second Circuit precedent, disclosure of the specific identities of witnesses “neither

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         On a preliminary review, the government does not believe that the necessary
redactions would be extensive.

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furthers ‘the need for the public monitoring of federal courts,’ Lugosch, 435 F.3d at 123, nor
‘fosters an appearance of fairness [in the criminal trial],’ Globe Newspaper Co., 457 U.S. at
606, which are the rationales underlying the right of public access to judicial documents and
proceedings.” Silver, 2016 WL 1572993, at *7.

               The government therefore proposes to file a redacted version of docket entry
354 at the conclusion of trial, redacting the names of law enforcement witnesses as well as
identifying information that could lead to the discovery of their identities. On this proposal,
the press and public would be given access to the facts on which the Court based its ruling, as
well as the government’s legal arguments, without harming the privacy interests of the officers
and agents in question. See Silver, 2016 WL 1572993, at *7 (“The privacy interests of the
Jane Does do warrant redactions to protect their identities.”); see also Dkt. No. 453 (“[T]his
information is both identifying and inflammatory, and the witnesses should not be judged in
the court of public opinion on information that this Court has determined is too prejudicial or
unrelated to defendant’s guilt or innocence to be admitted at trial.”).

              C. Conclusion

                For the reasons set forth above, the redactions and sealing of the government’s
filings in this trial have been appropriate on the facts of this case and pursuant to governing
law. Now that the end of trial is approaching, however, and the identities of witnesses have
largely been revealed, certain of the government’s sealing and redaction requests are no longer
necessary. Should the Court agree with the general framework set forth herein, the government




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will provide proposed redactions of the documents specifically identified in the Times Letter
for the Court’s review.


                                                  Respectfully submitted,

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cc:    Clerk of Court (BMC) (via ECF)
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